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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION
 UNITED STATES OF AMERICA,                       :      CASE NO.       1:20-CR-066
                                                 :
                        Respondent,              :
                                                 :      JUDGE McFARLAND
        v.                                       :
                                                 :      GOVERNMENT’S RESPONSE TO
                                                 :      PETITIONER’S § 2241 MOTION
 RAYMOND WILLIAMS,                               :
                                                 :
                       Petitioner.               :



                                  STATEMENT OF ISSUES
       Claim Number One: Petitioner seeks to have a sentence that may or may not have been

imposed from an arrest in Coweta County, Georgia (case number2021R0486) credited against his

current imprisonment of 95 months in case number1:20-CR-066. The United States cannot find

any indication that the defendant actually was convicted in Georgia. He was arrested on unrelated

theft, marijuana possession, and firearm offenses in Coweta County, Georgia on November 19,

2020. He was brought into federal custody on February 26, 2021, by means of a writ. The court

record available to the United States record indicates that the Georgia offenses were dismissed.

The record from the Bureau of Prisons indicates that the defendant was returned to Georgia where

he was ultimately sentenced to the 36 months. In an earlier response to the Bureau of Prisons on

this very issue, the Court stated that the sentence of 95 months stands as imposed.

       ARGUMENT IN OPPOSITION:

       The Petitioner cannot show any cause or actual prejudice from the Court’s sentencing.

There is no claim of actual innocence. As such the Motion must be denied.
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       With regards to the latest claim, the petitioner’s issue has already been dealt with by the

Court. The sentence imposed stands. The Georgia case was totally unrelated to the charges

convicted in the Southern District of Ohio. He was not serving any time that was relevant conduct.

The sentence should be served consecutively to the Georgia offense. The sentences were imposed

at different times for different crimes. Pursuant to Title 18 U.S.C.§ 3584, the sentences run

consecutively unless otherwise stated. Here the Court has made it wishes clear as to the terms of

the sentence. The Petitioner fails.

       CONCLUSION:

       Based on the facts and law, the Petitioner’s Motion must be denied. Petitioner cites no legal

or factual authority requiring any type of hearing and no basis for relief.

                                                   Respectfully submitted,

                                                   KELLY A. NORRIS
                                                   Acting United States Attorney


                                                   s/Timothy D. Oakley
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                                 CERTIFICATE OF SERVICE
       I hereby certify that a copy of the foregoing Memorandum in Opposition was delivered via

U.S. Mail on this 1st day of April, 2025, to defendant at:

       Raymond Williams
       #26858-509
       FCI Schuylkill
       PO Box 759
       Minersville, PA 17954


                                                   s/Timothy D. Oakley
                                                   TIMOTHY D. OAKLEY (0039965)
                                                   Assistant United States Attorney
